        Case 2:01-cv-06049-MSG Document 184 Filed 09/05/19 Page 1 of 2




               FEDERAL COMMUNITY DEFENDER OFFICE
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                     Capital Habeas Unit
            FEDERAL COURT DIVISION - DEFENDER ASSOCIATION OF PHILADELPHIA

                               SUITE 545 WEST -- THE CURTIS
                                   601 WALNUT STREET
                                 PHILADELPHIA, PA 19106

  LEIGH M. SKIPPER                 PHONE NUMBER (215) 928-0520             HELEN A. MARINO
CHIEF FEDERAL DEFENDER             FAX NUMBER   (215) 928-0826          FIRST ASSISTANT FEDERAL
                                   FAX NUMBER   (215) 928-3508                 DEFENDER




September 5, 2019


Hon. Mitchell S. Goldberg
United States District Judge
7614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

Re:    Wharton v. Vaughn, No. 01-6049

Dear Judge Goldberg:

Petitioner Robert Wharton submits this letter to provide additional authority in support of his
Motion for Continuance and Response (ECF No. 180) to the Attorney General’s Amicus Brief
(ECF No. 171). In his Response, at 15, Mr. Wharton urges the Court to accept the parties’
proposed settlement of his habeas corpus litigation. Mr. Wharton now advises the Court that a
similar settlement was accepted in Marshall v. Wetzel, No. 03-cv-03308, 2018 WL 5801313
(E.D. Pa. Nov. 6, 2018) (Leeson, U.S.D.J.). The Marshall court ruled:

       [B]ased upon respondents' concession, I grant petitioner habeas corpus relief on
       those 17 claims and vacate the death sentences for the murders of Myndie McCoy
       and Karima Saunders. Furthermore, I direct that this case be remanded to the Court
       of Common Pleas of Philadelphia County for resentencing consistent with
       respondents' concession that they will not seek the death penalty upon resentencing.
        Case 2:01-cv-06049-MSG Document 184 Filed 09/05/19 Page 2 of 2

Hon. Mitchell S. Goldberg
September 5, 2019
Page 2



2018 WL 5801313, at *1. The court denied relief on Mashall’s remaining claims. Id. at *2.

                                                  Respectfully submitted,



                                                  /s/ Claudia Van Wyk
                                                  LEIGH M. SKIPPER
                                                  Chief Federal Defender, by
                                                  VICTOR J. ABREU
                                                  CLAUDIA VAN WYK
                                                  Federal Community Defender Office
                                                    Eastern District of Pennsylvania
                                                  Capital Habeas Corpus Unit
                                                  601 Walnut Street, Suite 545 West
                                                  Philadelphia, PA 19106
                                                  (215) 928-0520
                                                  Victor_Abreu@fd.org
                                                  Claudia_VanWyk@fd.org


                                                  Counsel for Petitioner Robert Wharton

cc:   Paul M. George, Esq.
      James P. Barker, Esq.
